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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                8:02CR176
                              )
          v.                  )
                              )
RAYMOND JOHN OTERO,           )                   ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 102).       The Court finds said motion should

be granted.   Accordingly,

           IT IS ORDERED that the final dispositional hearing on

the petition for warrant or summons for offender under superision

(Filing No. 95) is rescheduled for:

                 Friday, October 20, 2006, at 11 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.

           DATED this 8th day of September, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
